                      EXHIBIT A




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AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                        Middle District
                                                       __________       of North
                                                                    District     Carolina
                                                                             of __________

      In re Application of KARAM SALAH AL                                      )
      DIN AWNI AL SADEQ and STOKOE                                             )
      PARTNERSHIP SOLICITORS for an                                            )      Civil Action No.
      Order Under 28 U.S.C. § 1782 to Conduct                                  )
      Discovery for Use in Foreign Proceedings.                                )
                                                                               )


                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
To:
                             Nicholas Del Rosso, 318 Lystra Preserve Drive, Chapel Hill, North Carolina 27517
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV

 Place: Robinson Bradshaw & Hinson, P.A.                                               Date and Time:
           1450 Raleigh Road, Suite 100
           Chapel Hill, North Carolina 27517

          The deposition will be recorded by this method:                     stenographically

      ✔
      u Production:     You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: SEE ATTACHED SCHEDULE "A"




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).


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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                NICHOLAS DEL ROSSO SUBPOENA SCHEDULE A

   A. Instructions

       1.    Each paragraph below shall operate and be construed independently; and,
unless otherwise indicated, no paragraph limits the scope of any other paragraph.

       2.     Identify every document in this request that is withheld on any claim of
privilege, work product or other immunity from production and for each such document
state:

              a. the specific basis on which that document is being withheld;

              b. the date and subject matter of the document;

              c. the name and address of the author and/or originator of the document;

              d. the name and address of the recipient of the document.

       3.    The documents produced for inspection shall be produced as they are kept in
the usual course of business or shall be organized and labeled to correspond with the
paragraphs set forth below.

      4.     The party under subpoena should furnish any additional or supplemental
documents subject to this Schedule “A” which are created or discovered after the original
production of documents.

       5.     This Schedule “A” is intended to cover all documents in the possession of
the party under subpoena or subject to his/her custody or control, including information in
the possession, custody or control of his/her attorneys, accountants, investigators, experts,
employees, agents and any other persons employed on his/her behalf, and not merely such
information as is known of his/her own personal knowledge.

       6.     Whenever appropriate, the singular form of a word should be interpreted in
the plural.

       7.      The relevant time period for this Subpoena, unless otherwise specified as to
any specific request, shall be the period from January 1, 2015 to the date of your deposition.




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   B. Definitions

        1.     “Document” or “documents” shall mean the original, or if the original is not
in your custody or under your control, a copy thereof; and, in any event, the term includes
any non-identical copy or copies which differ from the original for any reason (e.g., draft
copy or copy containing notes thereon). “Document” further means any kind of printed,
recorded, written, graphic or photographic matter (including tape recording), however
printed, produced, reproduced, coded or stored, of any kind or description, whether sent or
received, including originals, copies, reproductions, facsimiles, drafts, and including,
without limitation: any writings, letters, telegrams, cables, telex messages, memoranda,
correspondences, memoranda or notes of conferences or telephone conversations, reports,
notices, studies, lists, work papers, routing slips, inter-office communications to, between
or among directors, officers, agents, attorneys, accounts or employees, compilations of
data, papers, books, records, accounts, contracts, deeds, leases, agreements, pictures,
photographs, transcripts, minutes, tapes, microfilm, computer data files, printouts,
vouchers, accounting statements, engineering diagrams, mechanical and electrical
recordings, checks, deposit slips, reports and recordings of conversations, interviews,
conferences, committee meetings or other meetings; affidavits, statements, summaries,
opinions, court pleadings and reports, indices, studies, analyses, forecasts and evaluations;
licenses, and agreements; invoices, notebooks, entries, ledgers, journals, books of record,
accounts, summaries of accounts, balance sheets, income statements, questionnaires,
answers to questionnaires, statistical records, advertisements, brochures, circulars,
bulletins, pamphlets, trade letters, desk calendars, appointment books, diaries, telephone
logs, expense accounts, lists, tabulations, data sheets, computer tapes and discs, magnetic
tapes, punch cards, computer printouts, data processing input and output, computer files,
computer programs, computer program coding sheets, microfilms, microfiche; models,
photographs, drawings, sketches, blueprints, objects, and all other tangible things upon
which any handwriting, typing, printing, drawing, representation, photostatic, or other
magnetic or electrical impulses or other form of communication is recorded, stored or
produced, including audio and video recordings and computer-stored information, whether
or not in printout form, and things similar to any of the foregoing, regardless of their author
or origin, however denominated by the person upon whom the request is made.

       2.      “You”, “yours” or any variant thereof refers to the party under subpoena, the
said party’s agents, employees, servants, and representatives and any affiliates,
subsidiaries, or related entities.

     3.     “Or” and “and” each mean “and/or”. “All” shall be understood to include and
encompass “any.”




NICHOLAS DEL ROSSO SUBPOENA SCHEDULE A - Page 2


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       4.      “Refers and relates to,” and “refers to” as used herein mean concerns,
consists of, refers to, reflects, reflects on, shows or in any way is logically or factually
connected with the matter discussed.

      5.     The word “communication” or any variant thereof, means any contact
between two or more persons and shall include, without limitation, written contact by
means such as letters, e-mails, text messages, memoranda, telegrams, telecopies or telexes,
or by any document, and any oral contact such as face-to-face meetings and telephone
conversations.

        6.     “Concerning,” “evidencing” or “relating to” or any variant thereof includes
referring to, supporting, located in, considered in connection with, bearing, bearing on,
evidencing, indicating, reporting on, recording, alluding to, responding to, relating to,
opposing, favoring, connected with, commenting on, in respect of, about, regarding,
discussing, showing, describing, reflecting, analyzing, constituting and being.

       7.     “CyberRoot” means CyberRoot Risk Advisory Private Limited and all
current and former employees, agents, representatives, subsidiaries, affiliates, assignees,
or other persons acting or purporting to act on its behalf.

      8.    The time period applicable for each of these requests is July 1, 2015 through
September 30, 2017, unless stated otherwise.

                             DOCUMENTS REQUESTED

       1.     All documents evidencing payments made to CyberRoot, including but not

limited to, bank statements and invoices.

       2.     Copies of all invoices and account statements provided to you by CyberRoot.

       3.     All documents, including communications, referring or relating to the

payments made by you to CyberRoot.

       4.     All documents sufficient to identify the source of funds used to make

payments to CyberRoot.




NICHOLAS DEL ROSSO SUBPOENA SCHEDULE A - Page 3


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      5.    All documents including, but not limited to, memoranda, notes, facsimiles,

e-mails or other documents or communications which refer, relate to, evidence, or

memorialize any meetings, discussions, or communications with CyberRoot.

      6.    All documents, including communications, which evidence the work product

produced by CyberRoot on your behalf.




NICHOLAS DEL ROSSO SUBPOENA SCHEDULE A - Page 4


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